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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

  IMPLICIT, LLC,                                  §
                                                  §
         Plaintiff,                               §
                                                  §       Civil Action No. 2:18-cv-53-JRG
  v.                                              §
                                                  §
  NETSCOUT SYTEMS, INC.,                          §
                                                  §
         Defendant.                               §

                               ORDER REGARDING EXHIBITS

       The Court enters this order sua sponte. Due to the voluminous exhibits expected to be tendered

during the trial of this case, the Court ORDERS the following:

       A.     On the first day of trial, each party is required to have on hand the following:

              (1)     One (1) copy of their respective original exhibits. Each exhibit shall be

                      properly labeled with the following information: Identified as either Plaintiff’s

                      or Defendant’s Exhibit, the Exhibit Number and the Case Number. In addition,

                      exhibits shall be placed in properly marked letter size manilla folders and

                      contained in a box with handles.

              (2)     Three (3) hard copies of their exhibit list and witness list. These lists shall

                      reflect all pretrial evidentiary rulings and shall be tendered to the Courtroom

                      Deputy at the beginning of trial.

       B.     During trial and on a daily basis, each party shall tender to the Court a new list reflecting

              any additional exhibits admitted the previous day.

       C.     The form of the list referenced in Paragraphs A.(2) and B. shall conform with Form

              AO 187 and AO 187A (available at http://www.uscourts.gov/forms/other-forms).

       D.     At the conclusion of the evidentiary phase of trial, each party is to gather only those
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              exhibits admitted during trial and tender those to the Courtroom Deputy.

    E.        At the conclusion of trial, all boxes of exhibits shall be returned to the respective parties

              and the parties are instructed to remove these exhibits from the courtroom.

    F.        Within five business days of the conclusion of trial, each party shall submit to the

              Courtroom Deputy a Final Exhibit List of all exhibits admitted during trial.

    G.        Within five business days of the conclusion of trial, each party shall submit to the

              Courtroom Deputy a disk or disks containing their respective admitted trial exhibits in

              PDF format with the exception of sealed exhibits. Sealed exhibits shall be submitted

              on a separate disk or disks. If tangible or over-sized exhibits are admitted, such exhibits

              shall be substituted with a photograph to be converted to a PDF file and shall be

              included in the Court’s disk of admitted exhibits.

    H.        After verification of final exhibit lists, the Courtroom Deputy shall file and docket the

              lists, and the disk or disks containing the exhibits in PDF format shall be stored in the

              Clerk’s Office, Marshall Division.

         So Ordered this
         Dec 4, 2019




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